Case 19-01974-LT7   Filed 04/18/19   Entered 04/18/19 08:43:52   Doc 10   Pg. 1 of 54
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Case 19-01974-LT7   Filed 04/18/19   Entered 04/18/19 08:43:52   Doc 10   Pg. 3 of 54
              Case 19-01974-LT7
Fill in this information to identify your case:
                                                      Filed 04/18/19             Entered 04/18/19 08:43:52                         Doc 10            Pg. 4 of 54

United States Bankruptcy Court for the
Southern District of California
Case number                                                       Chapter you are filing under
                                                                    Chapter 7
                                                                     Chapter 11                                                Check if this is an
                                                                     Chapter 12                                                Amended filing
                                                                     Chapter 13


OFFICIAL FORM 106A/B

Schedule A/B: Property                                                                                                                                                         12/15
In each category, separately list and describe items> List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it fits
best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


Part 1:
                          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In.
1.     Do you own or have any legal or equitable interest in any residence, building, land or similar property?

             No. Go to Part 2.
             Yes. Where is the property?

                                                                What is the property? (Check all that apply)               Do not deduct secured claims or exemption. Put
       1.1    15790 Sunset Drive                                    Single-family home                                     the amount of any secured claim on Schedule D..
                                                                                                                           Creditors Who Have Claims Secured by Property
             Street address, or other description                     Duplex or multi-unit building
                                                                      Condominium or cooperative                              Current Value of the           Current value of the
                                                                      Manufactured or mobile home                              entire property?               portion you own?
                                                                      Land
                                                                      Investment property
                                                                                                                               $1,763,000                  $1,763,000
                    Poway, CA 92064                                   Timeshare
             City                   State         Zip Code            Other

                                                                Who has an interest in the property? Check one             Describe the nature of your ownership interest (such
                    San Diego                                       Debtor 1 only                                          as fee simple, tenancy by the entireties, or life estate).
             County                                                   Debtor 2 only                                        If known.

                                                                      Debtor I and Debtor 2 only
                                                                                                                                 Check if this is community property.
                                                                      At least one of the debtors and another.                   (see instruction)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:

       If you own or have more than one, list here.             What is the property? (Check all that apply)               Do not deduct secured claims or exemption. Put
                                                                    Single-family home                                     the amount of any secured claim on Schedule D..
       1.2                                                                                                                 Creditors Who Have Claims Secured by Property
                                                                      Duplex or multi-unit building
             Street address, or other description
                                                                      Condominium or cooperative                              Current Value of the           Current value of the
                                                                      Manufactured or mobile home                              entire property?               portion you own?
                                                                      Land
                                                                      Investment property
                                                                      Timeshare                                                              $0                           $0
                                                                      Other
             City                   State         Zip Code
                                                                Who has an interest in the property? Check one             Describe the nature of your ownership interest (such
                                                                    Debtor 1 only                                          as fee simple, tenancy by the entireties, or life estate).
                                                                      Debtor 2 only                                        If known.
             County
                                                                      Debtor I and Debtor 2 only
                                                                                                                                 Check if this is community property.
                                                                      At least one of the debtors and another.                   (see instruction)

                                                                Other information you wish to add about this item, such as
                                                                property identification number:

Official Form 106A/B                                                    Schedule A/B: Property                                                           Page1
               Case 19-01974-LT7                                 Filed 04/18/19                       Entered 04/18/19 08:43:52                                        Doc 10                Pg. 5 of 54
Debtor 1                       - Brian A. LaPorte                                                                                                             Case Number ( if known) 19-01974-LT7

                                                                                 What is the property? (Check all that apply)                                 Do not deduct secured claims or exemption. Put
      1.3                                                                            Single-family home                                                       the amount of any secured claim on Schedule D..
            Street address, or other description                                                                                                              Creditors Who Have Claims Secured by Property
                                                                                        Duplex or multi-unit building
                                                                                        Condominium or cooperative                                                Current Value of the              Current value of the
                                                                                        Manufactured or mobile home                                                entire property?                  portion you own?
                                                                                        Land
                                                                                        Investment property
                                                                                        Timeshare                                                                                    $0                         $0
            City                           State             Zip Code
                                                                                        Other

                                                                                 Who has an interest in the property? Check one                               Describe the nature of your ownership interest (such
                                                                                     Debtor 1 only                                                            as fee simple, tenancy by the entireties, or life estate).
            County                                                                                                                                            If known.
                                                                                        Debtor 2 only
                                                                                        Debtor I and Debtor 2 only                                                   Check if this is community property.
                                                                                        At least one of the debtors and another.                                     (see instruction)

                                                                                 Other information you wish to add about this item, such as
                                                                                 property identification number:

2     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                                               $1,763,000
      you have attached for Part 1. Write that number here..................................................................................................................................... º




Part 2:
                               Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not: Include any vehicles you own that someone else drives. If you
lease a vehicle also report on schedule G Executory contracts and Unexpired Leases.


3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No.
            Yes

      3.1                      Make
                                                 2013 BMW                        Who has an interest in the property? Check one                               Do not deduct secured claims or exemption. Put
                                                                                                                                                              the amount of any secured claim on Schedule D..
                                                                                     Debtor 1 only
                               Model             X5                                     Debtor 2 only
                                                                                                                                                              Creditors Who Have Claims Secured by Property

                               Year                                                     Debtor I and Debtor 2 only                                                Current Value of the              Current value of the
                                                                                        At least one of the debtors and another.                                   entire property?                  portion you own?
                               Mileage           75,000
                               Other Information                                        Check if this is community property.                                             $17,143                       $17,143
                                                                                        (see instruction)




      If you own or have more than on, describe here.

      3.2                      Make                                              Who has an interest in the property? Check one                               Do not deduct secured claims or exemption. Put
                                                                                     Debtor 1 only                                                            the amount of any secured claim on Schedule D..
                               Model                                                                                                                          Creditors Who Have Claims Secured by Property
                                                                                        Debtor 2 only
                               Year                                                     Debtor I and Debtor 2 only                                                Current Value of the              Current value of the
                                                                                        At least one of the debtors and another.                                   entire property?                  portion you own?
                               Mileage

                               Other Information                                        Check if this is community property.
                                                                                                                                                                                        $                         $
                                                                                        (see instruction)




Official Form 106A/B                                                                        Schedule A/B: Property                                                                                          Page 2
               Case 19-01974-LT7                                Filed 04/18/19                       Entered 04/18/19 08:43:52                                      Doc 10            Pg. 6 of 54
Debtor1                       - Brian A. LaPorte
                                                                                                                                                           Case Number ( if known) 19-01974-LT7

      3.3                     Make                                             Who has an interest in the property? Check one                              Do not deduct secured claims or exemption. Put
                                                                                   Debtor 1 only                                                           the amount of any secured claim on Schedule D..
                              Model                                                                                                                        Creditors Who Have Claims Secured by Property
                                                                                      Debtor 2 only
                              Year                                                    Debtor I and Debtor 2 only                                               Current Value of the        Current value of the
                                                                                      At least one of the debtors and another.                                  entire property?            portion you own?
                              Mileage

                              Other Information                                       Check if this is community property.
                                                                                                                                                                                 $                       $
                                                                                      (see instruction)




      3.4                     Make                                             Who has an interest in the property? Check one                              Do not deduct secured claims or exemption. Put
                                                                                   Debtor 1 only                                                           the amount of any secured claim on Schedule D..
                              Model                                                                                                                        Creditors Who Have Claims Secured by Property
                                                                                      Debtor 2 only
                              Year                                                    Debtor I and Debtor 2 only                                               Current Value of the        Current value of the
                                                                                      At least one of the debtors and another.                                  entire property?            portion you own?
                              Mileage

                              Other Information                                       Check if this is community property.
                                                                                                                                                                                 $                       $
                                                                                      (see instruction)




4.    Water craft, aircraft, motor homes, ATV's and other recreational vehicles, other vehicles, and accessories.
      Examples: Boats, trailers, motors, personal water craft, fishing vessels, snowmobiles, motorcycle accessories.
            No.
            Yes


      4.1                     Make                                             Who has an interest in the property? Check one                              Do not deduct secured claims or exemption. Put
                                                                                   Debtor 1 only                                                           the amount of any secured claim on Schedule D..
                              Model                                                                                                                        Creditors Who Have Claims Secured by Property
                                                                                      Debtor 2 only
                              Year                                                    Debtor I and Debtor 2 only                                               Current Value of the        Current value of the
                                                                                      At least one of the debtors and another.                                   entire property            portion you own?
                              Other Information

                                                                                      Check if this is community property.                                                      $0                     $0
                                                                                      (see instruction)




      4.2                     Make                                             Who has an interest in the property? Check one                              Do not deduct secured claims or exemption. Put
                                                                                   Debtor 1 only                                                           the amount of any secured claim on Schedule D..
                              Model                                                                                                                        Creditors Who Have Claims Secured by Property
                                                                                      Debtor 2 only
                              Year                                                    Debtor I and Debtor 2 only                                               Current Value of the        Current value of the
                                                                                      At least one of the debtors and another.                                  entire property?            portion you own?
                              Other Information

                                                                                      Check if this is community property.                                                      $0                     $0
                                                                                      (see instruction)




5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here................................................................................................................. º
                                                                                                                                                                                                $17,143


Official Form 106A/B                                                                      Schedule A/B: Property                                                                                   Page 3
                Case 19-01974-LT7                                    Filed 04/18/19                         Entered 04/18/19 08:43:52                                            Doc 10          Pg. 7 of 54
Debtor 1                         - Brian A. LaPorte                                                                                                                    Case Number ( if known) 19-01974-LT7

Part 3:
                                 Describe Your Personal and Household Items.
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                   Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions

6,     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware.

              No.                                   Furniture, bed, linens, kitchenware, miscellaneous furnishings.
              Yes Describe............                                                                                                                                                                      $2,500
7.     Electronics
       Examples: Televisions and radios, audio, video, stereo, and digital equipment, computers, printer, scanners, music
                   collections, electronic devices including cell phones, cameras, media players, games.

              No.                                   Television, computer, cell phone
              Yes Describe............                                                                                                                                                                         $500
8.     Collectibles of value.
       Examples: Antiques and figurines, paintings, prints, or other artwork, books, pictures, or other art objects;
                     stamp, coin, or baseball card collections; other collections, memorabilia, collectibles.

              No.
              Yes Describe............                                                                                                                                                                            $0
9.     Equipment for sports and hobbies.
       Examples: Sports, photographic, exercise, and other hobby equipment, bicycles, pool tables, golf clubs, skis, canoes
                   and kayaks, carpentry tools, musical instruments.

              No.
              Yes Describe............                                                                                                                                                                            $0
10     Firearms
.      Examples: Pistols, rifles, shotguns, ammunition, and related equipment.

              No.
              Yes Describe............                                                                                                                                                                            $0
11     Clothes
.      Examples: Everyday clothes, furs, leather coats, designer wear, shoes accessories

              No.                                   Clothing and shoes
              Yes Describe............                                                                                                                                                                         $500
12     Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                 gold, silver.

              No.                                   Everyday jewelry
              Yes Describe............                                                                                                                                                                         $500
13     Non-farm animals
.      Examples: Dogs, cats, birds, horses.

              No Pets
              Yes Describe............                                                                                                                                                                            $0
14     Any other personal and household items you did not already list, including any health aids you did not list.


              No.
              Yes Describe............                                                                                                                                                                            $0
15     Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here................................................................................................................................................... º              $4,000
Official Form 106A/B                                                                           Schedule A/B: Property                                                                              Page 4
                Case 19-01974-LT7                                Filed 04/18/19                      Entered 04/18/19 08:43:52                                       Doc 10               Pg. 8 of 54
Debtor 1                       - Brian A. LaPorte                                                                                                           Case Number ( if known) 19-01974-LT7

Part 4:
                               Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following items?                                                                                                             Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                                              claims or exemptions

16     Cash
       Examples: Money you have in your wallet, in your home, in safe deposit box, and on hand when you file your petition
              No
              Yes..........................amount estimated .............................................................................................. Cash........................                  $100

17     Deposits of money
       Examples: Checking, savings, or other financial accounts, certificates of deposit, shares in credit unions, brokerage houses
                    and other similar institutions. If you have multiple accounts with the same institution, list each.
           No
              Yes...........                                               Institution name

                                 17.1 Checking account
                                                                                Bank of America                            amount estimated                                                         $1,000
                                 17.2 Checking account                                                                                                                                                    $0
                                 17.3 Savings account                                                                                                                                                          $0

                                 17.4 Savings account                                                                                                                                                          $0

                                 17.5 Certificates of deposit                                                                                                                                                  $0

                                 17.6 Other financial account                                                                                                                                                  $0

                                 17.7 Other financial account                                                                                                                                                  $0

                                 17.8 Other financial account                                                                                                                                                  $0

                                 17.9 Other financial account                                                                                                                                                  $0

                                                                                                                                                                                      Total              $1,000


18     Bonds, mutual funds, or publicly traded stocks.
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts.
              No
              Yes...........                                               Institution name

                                                                                                                                                                                                               $0

                                                                                                                                                                                                               $0

                                                                                                                                                                                                               $0

                                                                                                                                                                                      Total                    $0


19     Non-publicly traded stock and interests in incorporated and unincorporated businesses, including and interest in
       an LLC, partnership, and joint venture.
            No
              Yes. Give specific
              information about
              them.........  Name of Property                                                                                                                 % of ownership

                                                                                                                                                                                                               $0

                                                                                                                                                                                                               $0

                                                                                                                                                                                                               $0

                                                                                                                                                                                      Total                    $0

Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       Page 5
             Case 19-01974-LT7                          Filed 04/18/19          Entered 04/18/19 08:43:52             Doc 10         Pg. 9 of 54
Debtor 1                    - Brian A. LaPorte                                                                Case Number ( if known) 19-01974-LT7

20    Government and corporate bonds and other negotiable and nonnegotiable instruments.
      Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
           Yes. Give specific
           information about them.........               Issuer name

                                                                                                                                                     $0

                                                                                                                                                     $0

                                                                                                                                                     $0

                                                                                                                                Total                $0

21    Retirement or pension accounts.
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans.
           No
           Yes........... Type of account                       Institution name

                             401(k) or similar plan                                                                                                  $0

                             Pension plan                                                                                                            $0

                             IRA                                                                                                                     $0

                             Retirement account                                                                                                      $0

                             Keogh                                                                                                                   $0

                             Additional account                                                                                                      $0

                             Additional account                                                                                                      $0

                                                                                                                                Total                $0

22    Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water) telecommunications
      companies, or others.
          No
           Yes...........      Institution name or individual

                             Electric                                                                                                                $0

                             Gas                                                                                                                     $0

                             Heating oil                                                                                                             $0

                             Security deposit/ rental                                                                                                $0

                             Prepaid rent                                                                                                            $0

                             Telephone                                                                                                               $0

                             Water                                                                                                                   $0

                             Rented Furniture                                                                                                        $0

                                                                                                                                Total                $0

23    Annuities
          No
           Yes. Give specific
           information about
           them......... Issuer name and description.

                                                                                                                                                     $0

                                                                                                                                                     $0

                                                                                                                                                     $0

Official Form 106A/B                                                   Schedule A/B: Property                                           Page 6
               Case 19-01974-LT7                      Filed 04/18/19               Entered 04/18/19 08:43:52                        Doc 10        Pg. 10 of 54
Debtor                       Brian A. LaPorte                                                                               Case Number ( if known) 19-01974-LT7

24       Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1)
              No
              Yes........... Institution name and description. Separately file the records of any interests 11 U.S.C.§ t21©

                                                                                                                                                                      $0

                                                                                                                                                                      $0

                                                                                                                                                                      $0

                                                                                                                                              Total                   $0

25       Trusts, equitable or future interests in property (other than anything listed in Line1), and rights or powers
         exercisable for your benefit.

              No.
                                                                                                                                                                      $0
              Yes Describe............



26       Patents, copyrights, trademarks, trade secrets, and other intellectual property.
         Examples: Internet domain names, websites, proceeds from royalties, and licensing agreements.

              No.
                                                                                                                                                                      $0
              Yes Describe............



27       Licenses, franchises, and other general intangibles.
.        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses.

              No.
                                                                                                                                                                      $0
              Yes Describe............



Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own:
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28       Tax refunds owed to you.
              No.

             Yes              Give specific information            Owes taxes? - no refunds                                 Federal                                   $0
         Describe.........    about them , including
                              whether you already filed the        Return not filed - incarcerated                          State                                     $0
                              returns and tax years
                                                                                                                            Local                                     $0

29       Family Support
         Example: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No.

              Yes - Give specific information                                                                               Alimony                                   $0

                                                                                                                            Maintenance                               $0

                                                                                                                            Support                                   $0

                                                                                                                            Divorce Settlement                        $0

                                                                                                                            Property Settlement                       $0

30       Other amounts someone owes you.
         Examples: Unpaid wages, disability insurance payments, disability benefits, sick pa, vacation pay, workers' compensation
                     Social Security benefits, unpaid loans you made to someone else
              No.

              Yes. Give specific information ...........                                                                                                              $0


Official Form 106A/B                                                      Schedule A/B: Property                                                      Page 7
                 Case 19-01974-LT7                                 Filed 04/18/19                        Entered 04/18/19 08:43:52                                         Doc 10               Pg. 11 of 54
Debtor 1                          Brian A. LaPorte                                                                                                                 Case Number ( if known) 19-01974-LT7

31       interests IN INSURANCE POLICIES
         Examples: Health, disability, or life insurance, health savings account (HSA), credit, homeowners, or renters insurance.
              No
               Yes. Name of insurance company
                    of each policy and list its value                                Company Name                                                                Beneficiary

                                                                                                                                                                                                                      $0

                                                                                                                                                                                                                      $0

                                                                                                                                                                                                                      $0

                                                                                                                                                                                               Total                  $0

32       Any interest in property that is due you from someone who has died.
         If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitle to receive
         property because someone has died.
              No.

               Yes. Describe each item......................                                                                                                                                                          $0


33       Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment.
         Examples: Accidents, employment disputes, insurance claims, or rights to sue.
              No.

               Yes. Describe each claim..................                                                                                                                                                             $0



34       Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
         Examples: Unpaid wages, disability insurance payments, disability benefits, sick pa, vacation pay, workers' compensation
                      Social Security benefits, unpaid loans you made to someone else
              No.

               Yes. Describe each claim.......... ...........                                                                                                                                                         $0



35       Any financial assets you did not already list.
              No.

               Yes. Give specific information ...........                                                                                                                                                             $0



36       Add the collar value of all of your entries from Part 4, including any entries for pages that you have attached                                                                                       $1,100
         for Part 4. Write that number here.................................................................................................................................................   º



Part 5                            Describe any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37       Do you own or have any legal or equitable interest in any business-related property?
              No. Go to Part 6
              Yes Go to line 38

                                                                                                                                                                                                       Current Value of the
                                                                                                                                                                                                       portion you own
                                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                                       claims or exemptions.

38       Accounts receivable or commissions you already earned
             No.

               Yes. Describe.......                                                                                                                                                                                   $0

39       Office equipment, furnishings, and supplies
         Examples: Business-related computers, software, modems, printers, copiers, fax machines, desks, chairs electronic devices
              No.

               Yes. Describe.......                                                                                                                                                                                   $0

Official Form 106A/B                                                                          Schedule A/B: Property                                                                                             Page 8
                 Case 19-01974-LT7                                     Filed 04/18/19                           Entered 04/18/19 08:43:52                                             Doc 10          Pg. 12 of 54
Debtor 1                            - Brian A. LaPorte                                                                                                                       Case Number ( if known) 19-01974-LT7

40       Machinery, fixtures, equipment, supplies you use in business, and tools of your trade.
             No.

                Yes. Describe.......                                                                                                                                                                                     $0

41       Inventory
              No.

                Yes. Describe.......                                                                                                                                                                                     $0

42       Interests in partnerships or joint ventures
              No
                Yes. y                   Name of entity                                                                                                                         % of ownership

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

43       Customer lists, mailing lists, or other compilations.
              No.
                Yes Do your lists include personally identifiable information (as defined in 11 U.S.C. § 191(41A))?

                                  No.

                                  Yes.                   Describe.......                                                                                                                                                 $0

44       Any business-related property you did not already list.
              No
                Yes........... Institution name and description. Separately file the records of any interests 11 U.S.C.§ t21©

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                         $0

                                                                                                                                                                                                                          $0

45       Add the dollar value of all of you entries from Part 5, including any entries for pages you have attached                                                                                                      $0
         for Part 5. Write that number here....................................................................................................................................................   º



Part 6
                                    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                    If you own or have and interest in farmland, list it in Part 1.

46       Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
              No. Go to Part 7
                Yes Go to line 47

                                                                                                                                                                                                          Current Value of the
                                                                                                                                                                                                          portion you own
                                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                                          claims or exemptions.

47       Farm animals
         Examples: Livestock, poultry, farm-raised fish
             No.

                Yes. Describe.......                                                                                                                                                                                     $0




Official Form 106A/B                                                                                Schedule A/B: Property                                                                               Page 9
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Debtor 1                           - Brian A. LaPorte                                                                                                                         Case Number ( if known)

48       Crops -- either growing or harvested
             No.

                Yes. Describe........                                                                                                                                                                                        $0

49       Farm and fishing equipment, implements, machinery, fixtures, and tools of trade.
             No.

                Yes. Describe........                                                                                                                                                                                        $0

50       Farm and fishing supplies, chemicals, and feed.
             No.

                Yes. Describe........                                                                                                                                                                                        $0

51       Any farm - and commercial fishing-related property you did not already list
              No.

                Yes. Describe........                                                                                                                                                                                        $0




52       Add the dollar value of all of you entries from Part 6, including any entries for pages you have attached                                                                                                          $0
         for Part 6. Write that number here....................................................................................................................................................        º



Part 7                              Describe All Property You Own or Have an Interest in That You Did Not List Above
53       Do you have other property of any kind you did not already list?
         Examples: Season tickets, country club membership.
              No.

                Yes. Describe.......                                                                                                                                                                                         $0

                                                                                                                                                                                                                             $0

                                                                                                                                                                                                                             $0



54              Add the dollar value of all of you entries from Part 7, ...........................................................................................................                    º                    $0


Part 8
                                    List the Totals of Each Part of this Form.
55       Part 1:         Total real estate, Line 2................................................................................................................................................ º              $1,763,000
56       Part 2:         Total vehicles, line 5                                                                                                $17,143
57       Part 3:         Total personal and household items, Line 16                                                                               $4,000
58       Part 4:         Your financial assets, Line 36                                                                                            $1,100
59       Part 5          Total business-related property, Line 45                                                                                              $0

60       Part 6:         Total Farm- and fishing-related property Line 52.                                                                                     $0

61       Part 7:         Total other property not listed, Line 54                                                                                              $0

62       Total personal property. Add lines 56 through 61........................                                                              $22,243                        Copy Personal Prop º                      $22,243


63       Total of all property on Schedule AB. Add line 55 and 62.........................................................................................................                      º
                                                                                                                                                                                                               $1,785,243
Official Form 106A/B                                                                                Schedule A/B: Property                                                                                    Page 10
                Case 19-01974-LT7                     Filed 04/18/19            Entered 04/18/19 08:43:52                        Doc 10          Pg. 14 of 54
 Fill in this information to identify your case:

 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                            Chapter you are filing under
                                                                     Chapter 7
                                                                     Chapter 11                                                  Check if this is an
                                                                     Chapter 12                                                  Amended filing
                                                                     Chapter 13


OFFICIAL FORM 106C
 Schedule C: The Property You Claim as Exempt                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the property you listed on
Schedule A/B Property (Official form 106 A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and attach to this page as many copies of
Part 2, Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount
as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions -- such as those for health aids, right to receive certain benefits, and tax-exempt retirement funds -- may be unlimited in order in dollar amount.
However, it fyou claim an exemption of 100% of the fair market value under the law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed the amount, your exemption would be limited to the applicable statutory amount.


 Part 1:
              Identify the Property You Claim as Exempt.
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.                                  California Code of Civil Procedure
            You are claiming state and federal nonbankruptcy exemptions. 11U.S.C § 522(b)(3)
              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2).
                                                                                                                                                           704
                                                                                                                                                   Exemptions claimed


 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below

           Brief description of the property and line on     Current value of the             Amount of the exemption you claim              Specific laws that allow exemption
             Schedule A/B that lists this property            portion you own.
                                                            Copy the value from
                                                                Schedule A/B

        Brief                 Household Goods                         $2,500                                         $2,500                California Code of Civil Procedure
        description
                              and furnishings                                                                                              Section704.020(a)
        Line from              6                                                                100% of the fair market value up
        Schedule A/B                                                                            to any applicable statutory limit.



        Brief                 Electronics                                $500                                           $500               California Code of Civil Procedure
        description
                                                                                                                                           Section704.020(a)
        Line from              7                                                                100% of the fair market value up
        Schedule A/B                                                                            to any applicable statutory limit.



        Brief                 Clothes and shoes                          $500                                           $500               California Code of Civil Procedure
        description
                                                                                                                                           Section704.020(a)
        Line from             11                                                                100% of the fair market value up
        Schedule A/B                                                                            to any applicable statutory limit.



 3      Are you claiming a homestead exemption of more than #160,375?
        (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
             No.
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case:
                   No.
                   Yes.

 Official Form 106A/B                                            Schedule C: The property You Claim as Exempt                                                Page 1 of 2 pages
               Case 19-01974-LT7                     Filed 04/18/19         Entered 04/18/19 08:43:52                     Doc 10     Pg. 15 of 54
Debto1: - Brian A. LaPorte                                                                               19-01974-LT7

Part 1:      Additional page

          Brief description of the property and line on    Current value of the          Amount of the exemption you claim       Specific laws that allow exemption
            Schedule A/B that lists this property           portion you own.
                                                          Copy the value from
                                                             Schedule A/B

      Brief                  Jewelry                                $500                                         $500          California Code of Civil Procedure
      description
                                                                                                                               Section704.040
      Line from              12                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                  Cash                                    $100                                            $0        California Code of Civil Procedure
      description
                                                                                                                               Section704.080
      Line from              16                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                  Deposits of Money                    $1,000                                             $0        California Code of Civil Procedure
      description                                                                                                              Section704.080

      Line from              17                                                           100% of the fair market value up     Social Security or
      Schedule A/B                                                                        to any applicable statutory limit.   Public Benefit



      Brief                  Tax refunds                                 $0                                          $0        California Code of Civil Procedure
      description
                                                                                                                               Section703.140(b)(1) and (5)
      Line from              28                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                  Retirement/                                 $0                                          $0        California Code of Civil Procedure
      description
                             Pension/401(k)                                                                                    Section704.115
      Line from              21                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                  Machinery / Tools of                        $0                                          $0        California Code of Civil Procedure
      description
                             Trade                                                                                             Section703.140(b)(6)
      Line from              40                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                  Real Property                 $1,763,000                                        $100,000          California Code of Civil Procedure
      description                                                                                                              Section704.730
                             Residence                                                                                              Single (a)(1)
                                                                                                                                    Head of household (a)(2)
      Line from               1                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.        Over 65 or disabled (a)(3)




      Brief                  Corporation or                              $0                                          $0        California Code of Civil Procedure
      description
                             LLC                                                                                               Section703.140(b)(1) and (5)
      Line from              19                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



Official Form 106A/B                                          Schedule C: The property You Claim as Exempt                                      Page 2 of 3 pages
               Case 19-01974-LT7                     Filed 04/18/19         Entered 04/18/19 08:43:52                     Doc 10       Pg. 16 of 54
Debto1: - Brian A. LaPorte                                                                                         19-01974-LT7

Part 1:      Additional page

          Brief description of the property and line on    Current value of the          Amount of the exemption you claim          Specific laws that allow exemptio
            Schedule A/B that lists this property           portion you own.
                                                          Copy the value from
                                                             Schedule A/B

      Brief
      description
                             2013 BMW X5                        17,143                                        $3,050              California Code of Civil Procedure

                                                                                                                                  Section 704.010(a)
      Line from               3                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                                                                          $0           California Code of Civil Procedure
      description
                                                                                                                                  Section 704.010(a)
      Line from               3                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                                                                          $0           California Code of Civil Procedure
      description
                                                                                                                                  Section 704.010(a)
      Line from               3                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                                                                          $0           California Code of Civil Procedure
      description
                                                                                                                                  Section 704.010(a)
      Line from               3                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                            $0                                            $0           California Code of Civil Procedure
      description
                                                                                                                                  Section703.140(b)(5)
      Line from                                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                            $0                                            $0           California Code of Civil Procedure
      description
                                                                                                                                  Section703.140(b)(5)
      Line from                                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.



      Brief                                                            $0                                            $0           California Code of Civil Procedure
      description
                                                                                                                                  Section703.140(b)(5)
      Line from                                                                           100% of the fair market value up
      Schedule A/B                                                                        to any applicable statutory limit.

                                                                                                                 $107,050




Official Form 106A/B                                          Schedule C: The property You Claim as Exempt                                        Page 3 of 3 pages
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the
 Southern District of California                                                                                                Check if this is an
 Case number 19-01974-LT7               Chapter you are filing under
                                                             Chapter 7                                                          Amended filing
                                                                       Chapter 11
                                                                       Chapter 13

OFFICIAL FORM 106D
 Schedule D: Creditors Who Have Claims Secured by Property.                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attache it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.


 Part 1:
                List All Secured Claims
 2.        List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each        Column A          Column B          Column C
           claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as           Amount of Claim.      Value of         Unsecured
           possible, list the claims in alphabetical order according to the creditors name.                                   Do not deduct       collateral         portion if
                                                                                                                                 value of        supports this         any
                                                                                                                                collateral          claim

 2.1       Name, address, city/state, Zip                       Describe the property that secured the Claim:                $1,285,528         $1,763,000         $0

           Citadel Servicing                                                        Residence
           15707 Rockfield Blvd.
                                                                As of the date you file, the claim is Check all that apply
           Irvine, CA 92618                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

           Who owes the Debt? Check one                         Nature of the Debt. Check all that apply
               Debtor 1 only                                        An agreement you made (such as mortgage or
               Debtor 2 only.                                       secured car loan.
               Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien
               At least one of the debtors and another              Judgment lien from a lawsuit.
               Check if this claim relates to a                     Other ( including right to offset)
               community debt.
           Date debt was incurred 05-17                         Last 4 digits of account number:       7628


 2.2       Name, address, city/state, Zip                       Describe the property that secured the Claim:                $14,377            $17,143            $0
           Chase Auto Finance                                                    2013 BMW X5
           PO Box 901076 TX1-0056
                                                                As of the date you file, the claim is Check all that apply
           Fort Worth, TX 76101-2076                                Contingent
                                                                    Unliquidated
                                                                    Disputed

           Who owes the Debt? Check one                         Nature of the Debt. Check all that apply
               Debtor 1 only                                        An agreement you made (such as mortgage or
               Debtor 2 only.                                       secured car loan.
               Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien
               At least one of the debtors and another              Judgment lien from a lawsuit.
               Check if this claim relates to a                     Other ( including right to offset)
               community debt.
           Date debt was incurred 03-15                         Last 4 digits of account number: 0709

 Add the dollar value of your entries in Column A on this page. Write that number here                                       $1,164,377
 Official Form 106D                                      Schedule D: Creditors who have claims Secured by Property                                               Page - 1
               Case 19-01974-LT7                      Filed 04/18/19              Entered 04/18/19 08:43:52                         Doc 10           Pg. 18 of 54
 Fill in this information to identify your case:

 United States Bankruptcy Court for the
 Southern District of California                                                                                                    Check if this is an
 Case number 19-01974-LT7                                              Chapter you are filing under
                                                                       Chapter 7                                                    Amended filing
                                                                       Chapter 11
                                                                       Chapter 13


OFFICIAL FORM 106EF
 Schedule EF: Creditors Who Have Unsecured Claims                                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G.: Executory Contracts
and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
additional pages, write your name and case number (if known).
 Part 1:
                List All Of Your PRIORITY Unsecured Claims
 1.            Do any creditors have priority unsecured claims against you?
                     No. Go to Part 2.
                      Yes. Fill in all of the information below.

 2.        List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amount, list that claim here and show both priority and nonpriority amounts. As much as
           possible list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total Claim           Priority         Nonpriority
                                                                                                                                                        Amount            Amount

 2.1       Name, address, city/state, Zip                       Last 4 digits of account number                                $0                    $0                 $0
                                                                When was the debt incurred:                                    Tax returns not filed. Amount
                                                                As of the date you file, the claim is Check all that apply
                                                                                                                               owed, unknown at present.
                                                                    Contingent
           Who incurred the Debt? Check one                         Unliquidated
                Debtor 1 only                                       Disputed
                Debtor 2 only.                                  Type of PRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only                          Domestic support obligations.
                At least one of the debtors and another             Taxes and certain other debts to government
                Check if this claim is community debt.              Claims for death or personal injury while you
           Date debt was incurred                                   were intoxicated
                                                                    Other: Specify
           Is the claim subject to offset?
                No.
                Yes

 2.2       Name, address, city/state, Zip                       Last 4 digits of account number                                $0                    $0                 $0
                                                                When was the debt incurred:

                                                                As of the date you file, the claim is Check all that apply
                                                                    Contingent
           Who incurred the Debt? Check one                         Unliquidated
                Debtor 1 only                                       Disputed
                Debtor 2 only.                                  Type of PRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only                          Domestic support obligations.
                At least one of the debtors and another             Taxes and certain other debts to government
                Check if this claim is community debt.              Claims for death or personal injury while you
           Date debt was incurred                                   were intoxicated
                                                                    Other: Specify
           Is the claim subject to offset?
                No.
                Yes

 Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1
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Debtor -1 - Brian A. LaPorte                                                                                                  Case Number ( if known)       19-01974-LT7

Part 2:
                 List All of Your NONPRIORITY Unsecured Claims
3.        Do any creditors have nonpriority unsecured claims against you?
                     No. You have nothing to report in the part. Submit this form to the court with your other schedules.
                     Yes.

4.        List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
          claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
          creditor hold a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claim, fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim

4.1       Name, address, city/state, Zip                                                   Last 4 digits of account number     8704                               $22,763
          Navy Federal Credit Union                                                        When was the debt incurred?       04-16

          PO Box 3000
                                                                                           As of the date you file, the claim is: Check all that apply.
          Merrifield, VA 22119-3000                                                            Contingent
                                                                                               Unliquidated
          Who incurred the Debt? Check one                                                     Disputed
             Debtor 1 only
             Debtor 2 only.                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                        Student loans
             At least one of the debtors and another                                           Obligations arising out of a separation agreement
             Check if this claim is community debt.                                            or divorce that you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                               debts
                                                                                               Other: Specify
             Yes

4.2       Name, address, city/state, Zip                                                   Last 4 digits of account number     3559                               $20,102
          Navy Federal Credit Union                                                        When was the debt incurred?       04-16

          PO Box 3000
                                                                                           As of the date you file, the claim is: Check all that apply.
          Merrifield, VA 22119-3000                                                            Contingent
                                                                                               Unliquidated
          Who incurred the Debt? Check one                                                     Disputed
             Debtor 1 only
             Debtor 2 only.                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                        Student loans
             At last on of the debtors and another                                             Obligations arising out of a separation agreement
             Check if this claim is community debt.                                            or divorce that you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                                      debts
                                                                                               Other: Specify
             Yes

4.3       Name, address, city/state, Zip                                                   Last 4 digits of account number 0950                                   $19,707
          Navy Federal Credit Union                                                        When was the debt incurred?       04-16

          PO Box 3000
                                                                                           As of the date you file, the claim is: Check all that apply.
          Merrifield, VA 22119-3000                                                            Contingent
                                                                                               Unliquidated
          Who incurred the Debt? Check one                                                     Disputed
             Debtor 1 only
             Debtor 2 only.                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                        Student loans
             At least one of the debtors and another                                           Obligations arising out of a separation agreement
             Check if this claim is community debt.                                            or divorce that you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                                      debts
                                                                                               Other: Specify
             Yes

Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 3
              Case 19-01974-LT7               Filed 04/18/19            Entered 04/18/19 08:43:52                         Doc 10        Pg. 20 of 54
Debtor -1 - Brian A. LaPorte                                                                                       Case Number ( if known)        19-01974-LT7

Part 3:
                Your NONPRIORITY Unsecured Claims - Continuation Page
                                                                                                                                               Total claim

4.4       Name, address, city/state, Zip                                        Last 4 digits of account number    5183                        $6,823
          Citi Cards                                                            When was the debt incurred?       01-18

          PO Box 6241
                                                                                As of the date you file, the claim is: Check all that apply.
          Sioux Falls, SD 57117                                                     Contingent
                                                                                    Unliquidated
          Who incurred the Debt? Check one                                          Disputed
             Debtor 1 only
             Debtor 2 only.                                                     Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             Al lease one of the debtors and another                                Obligations arising out of a separation agreement
             Check if this claim is community debt.                                 or divorce that you did not report as priority claims
                                                                                    Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                           debts
                                                                                    Other: Specify
             Yes




4.5       Name, address, city/state, Zip                                        Last 4 digits of account number    1879                        $4,369
          Navy Federal Credit Union                                             When was the debt incurred?       04-16

          PO Box 3000
                                                                                As of the date you file, the claim is: Check all that apply.
          Merrifield, VA 22119-3000                                                 Contingent
                                                                                    Unliquidated
          Who incurred the Debt? Check one                                          Disputed
             Debtor 1 only
             Debtor 2 only.                                                     Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             Al lease one of the debtors and another                                Obligations arising out of a separation agreement
             Check if this claim is community debt.                                 or divorce that you did not report as priority claims
                                                                                    Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                                     debts
                                                                                    Other: Specify
             Yes




4.6       Name, address, city/state, Zip                                        Last 4 digits of account number    4113                        $3,779
          Capital One                                                           When was the debt incurred? 01-15

          PO Box 60024
                                                                                As of the date you file, the claim is: Check all that apply.
          City of Industry, CA 91716-0024                                           Contingent
                                                                                    Unliquidated
          Who incurred the Debt? Check one                                          Disputed
             Debtor 1 only
             Debtor 2 only.                                                     Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             Al lease one of the debtors and another                                Obligations arising out of a separation agreement
             Check if this claim is community debt.                                 or divorce that you did not report as priority claims
                                                                                    Debts to pension or profit-sharing plans, and similar
             Is the claim subject to offset?
             No.                                                                                     debts
                                                                                    Other: Specify
             Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4
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Debtor -1 - Brian A. LaPorte                                                                                        Case Number ( if known) 19-01974-LT7

Part 2:
                Your NONPRIORITY Unsecured Claims - Continuation Page
                                                                                                                                                    Total claim
4.7       Name, address, city/state, Zip                                         Last 4 digits of account number    9080                            $1,429
          Chase Card Services                                                    When was the debt incurred?       09-15

          PO Box 15298
                                                                                 As of the date you file, the claim is: Check all that apply.
          Wilmington, DE 19850-5298                                                  Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                      debts
             Yes                                                                     Other: Specify




4.8       Name, address, city/state, Zip                                         Last 4 digits of account number    2127                            $259
          Capital One                                                            When was the debt incurred?       09-14

          PO Box 85015
                                                                                 As of the date you file, the claim is: Check all that apply.
          Richmond, VA 23285-5075                                                    Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                                 debts
             Yes                                                                     Other: Specify


4.9       Name, address, city/state, Zip                                         Last 4 digits of account number    2229                            $252
          Chase USA                                                              When was the debt incurred?       03-15

          P.O. Box 94014
                                                                                 As of the date you file, the claim is: Check all that apply.
          Palatine, IL 60094-4014                                                    Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                                 debts
             Yes                                                                     Other: Specify

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5
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Debtor -1 - Brian A. LaPorte                                                                                        Case Number ( if known) 19-01974-LT7

Part 2:
                Your NONPRIORITY Unsecured Claims - Continuation Page
                                                                                                                                                   Total claim
410       Name, address, city/state, Zip                                         Last 4 digits of account number    3165                           $153
          Capital One                                                            When was the debt incurred?       06-14

          PO Box 60024
                                                                                 As of the date you file, the claim is: Check all that apply.
          City of Industry, CA 91716-0024                                            Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                      debts
             Yes                                                                     Other: Specify




411       Name, address, city/state, Zip                                         Last 4 digits of account number

                                                                                 When was the debt incurred?


                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                                 debts
             Yes                                                                     Other: Specify


412       Name, address, city/state, Zip                                         Last 4 digits of account number

                                                                                 When was the debt incurred?


                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
                                                                                     Unliquidated
                                                                                     Disputed
          Who incurred the Debt? Check one
             Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 2 only.
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement
             Al least one of the debtors and another
                                                                                           or divorce that you did not report as priority
             Check if this claim is community debt.                              claims
             Is the claim subject to offset?                                         Debts to pension or profit-sharing plans, and similar
             No.                                                                                                 debts
             Yes                                                                     Other: Specify

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6
               Case 19-01974-LT7                  Filed 04/18/19               Entered 04/18/19 08:43:52                        Doc 10        Pg. 23 of 54
Debtor 1 -      Brian A. LaPorte                                                                                        Case Number ( if known) 19-01974-LT7

Part 4:
                Add the Amount for Each Type of Unsecured Claim.
6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
       Add the amounts for each type of unsecured claim.

                                                                                                        Total claim

Total Claims    6a          Domestic support obligations                              6a
from Part 1
                                                                                                                 $0
                6b          Taxes and certain other debts                             6b
                            you owe the government.                                                              $0
                6c          Claims for death or personal
                            injury while you were                                     6c                         $0
                            intoxicated
                6d          Other. Add all other priority
                            unsecured claims. Writ that                               6d                         $0
                            amount here.                                              [




                6e          Total: Add lines 6a through 6d.                           6e                         $0




                                                                                                        Total claim

Total Claims    6f          Student loans                                             6f
from Part 2
                                                                                                                 $0
                6g          Obligations arising out of a
                            separation agreement or
                            divorce that you did not report                           6g                         $0
                            as priority claims.
                6h          Debts and pension or profit-
                            sharing plans, and other similar                          6h                         $0
                            debts.
                6i          Other. Add all other nonpriority
                            unsecured claims Write that                               6i                $79,636
                            amount here.



                6j          Total: Add lines 6f through 6i...                         6j                  $79,636




Official Form 106E/F                                   Schedule D: Creditors who have Unsecured Claims                                                         Page
             Case 19-01974-LT7                     Filed 04/18/19             Entered 04/18/19 08:43:52                       Doc 10          Pg. 24 of 54
 Fill in this information to identify your case:

 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                          Chapter you are filing under
                                                                   Chapter 7
                                                                   Chapter 11                                                 Check if this is an
                                                                   Chapter 12                                                 Amended filing
                                                                   Chapter 13

OFFICIAL FORM 106G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15
Ba as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease if for (for example, rent, vehicle lease, cell
         phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



 Person or company with whom you have the contract or lease                                       State what the contract or lease if for.

 2.1     Name, Address, City/State, Zip




 2.2     Name, Address, City/State, Zip




 2.3     Name, Address, City/State, Zip




 2.4     Name, Address, City/State, Zip




 2.5     Name, Address, City/State, Zip




 Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                                       Page - 1    of 1    pages
             Case 19-01974-LT7                     Filed 04/18/19           Entered 04/18/19 08:43:52                 Doc 10         Pg. 25 of 54
 Fill in this information to identify your case:

 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                          Chapter you are filing under
                                                                   Chapter 7
                                                                   Chapter 11                                         Check if this is an
                                                                   Chapter 12                                         Amended filing
                                                                   Chapter 13

OFFICIAL FORM 106H
 Schedule H: Your Codebtors                                                                                                                                 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.      Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                      No.
                      Yes

 2.      Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                  No
                  Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No.
                 Yes. In which community state or territory did you live:          California     Fill in the name and current address of that person

                            Name, address, city and state, zip code.

                            Current spouse- living in residence

 3.`     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
         again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
         Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1. Your codebtor                                                                            Column 2: The creditor to whom you owe the debt.
                                                                                                            Check all schedules that apply:

 3.1     Name, address, city and state, zip code
                                                                                                                    Schedule D, Line    2.1 & 2.2
                                                                                                                    Schedule E/F Line
         Toni LaPorte                                                                                               Schedule G, Line


 3.2     Name, address, city and state, zip code
                                                                                                                    Schedule D, Line
                                                                                                                    Schedule E/F Line
                                                                                                                    Schedule G, Line


 3.3     Name, address, city and state, zip code
                                                                                                                    Schedule D, Line
                                                                                                                    Schedule E/F Line
                                                                                                                    Schedule G, Line


 3.4     Name, address, city and state, zip code
                                                                                                                    Schedule D, Line
                                                                                                                    Schedule E/F Line
                                                                                                                    Schedule G, Line


 Official Form 106H                                              Schedule H: Your Codebtors                                             Page - 1    of 1   pages
        Case 19-01974-LT7                      Filed 04/18/19            Entered 04/18/19 08:43:52                        Doc 10              Pg. 26 of 54

Fill in this information to identify your case:
Debtor 1
                      Brian A. LaPorte
Debtor 2
                                                                                                                                     Check if this is an
Spouse if filing
                                                                                                                                     Amended filing
United States Bankruptcy Court for the SOUTHERN District of CALIFORNIA
Case number           19-01974-LT7
(if known)


Official Form 6I
 Schedule I: Your Income
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
 space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
 question.

 Part 1: Describe Employment
 1      Fill in your employment information.
                                                                                            Debtor 1                             Debtor 2 or non-filing spouse
        If you have more than one job                                             Employed                                         Employed
        attach a separate page with            Employment Status
        information about additional
                                                                                  Not employed                                     Not employed
        employers.

        Include employment information         Occupation
        about a non-filing spouse unless
        you are separated.                                               Incarcerated                                     Veterinary Assistant
        Include part-time, seasonal or         Employers name            No income                                        Town & Country
        self-employed work.
                                                                                                                          Veterinary
        Occupation should include              Employers address                                                          13265 Midland Road
        student or homemaker, if it
        applies.                                                         Number    Street                                 Number     Street

                                                                                                                          Poway, Ca 92064
                                                                         City                   State          Zip code   City                   State     Zip code

                                               How long Employed
                                               There?                                                                      / 8.5 years / (858) 486-4800


 Part 2: Give Details About Monthly Income
        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space, include your non-filing
        spouse unless your are separated.
        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form

                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

 2      List monthly gross wages, salary, and commissions (before all payroll                                                       $1,594
        deductions) If not paid monthly, calculate what a monthly wage would
        be.                                                                                 2

 3      Estimate and list monthly overtime pay, if any.                                     3                     $0

 4      Calculate gross income. Add line 2 + line 3.                                        4                    $0          $1,594


 Official Form 6I                                                  Schedule I: Your Income                                                                  page 1
          Case 19-01974-LT7                                 Filed 04/18/19                        Entered 04/18/19 08:43:52                       Doc 10         Pg. 27 of 54
Debtor 1            Brian A. LaPorte                                                                                 Case Number ( if known) 19-01974-LT7

                                                                                                                              For Debtor 1           For Debtor 2 or
                                                                                                                                                    non-filing Spouse

Copy line 4 here..................................................................................................   4                 $0                   $1,594

5        List all payroll deductions:

         5a       Payroll taxes and social security payments                                                         5a                                      $139

         5b       Contributions to retirement plans                                                                  5b                $0

         5c       Required repayments of retirement fund loans                                                       5c                $0

         5d       Insurance                                                                                          5d                $0

         5e       Union Dues                                                                                         5e                $0

         5f       Other Deductions:                           Specify:                                               5f                $0

         5g       Other Deductions:                           Specify:                                               5g                $0

         5h       Other Deductions:                           Specify:                                               5h                $0

6        Add the payroll deductions: Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                              6                 $0                    $139

7        Calculate total monthly take-home pay. Subtract line 6 from line 4.                                         7                 $0                   $1,455

8        List all other income regularly received:

         8a       Net income from rental property and from operating business
                  profession, or farm.

                  Attach a statement for each property and business showing                                          8a
                  gross receipts, ordinary and necessary business expenses,                                                            $0                      $0
                  and the total monthly net income.

         8b       Interest and dividends                                                                             8b                $0                      $0

         8c       Family support payments that you, a non-filing spouse, or a                                        8c
                  dependent regularly receive.
                  Include alimony, spousal support, child support, maintenance,                                                        $0                      $0
                  divorce settlement, and property settlement.

         8d       Unemployment compensation                                                                          8d                $0                      $0

         8e       Social Security                                                                                    8e                $0                      $0

         8f       Other government assist                     Specify:                                               8f                $0                      $0

         8g       Pension or retirement income                                                                       8g                $0                      $0

         8h       Other monthly income.                       Specify:                                               8h                $0                      $0

9        Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h                                                     9                 $0                      $0

10       Calculate monthly income. Add line 7 and line 9.                                                            10                $0                   $1,455      =     $1,455

11       List all contributions to the expenses that you list in Schedule J that anyone else makes.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives

         Do not include any amounts already received in lines 2-10 or amounts that are not available to pay expenses listed in                                          +
         Schedule J. Specify:                                                                                                                                                     $0

12       Add the amount in last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and the Statistical Summary o Certain Liabilities and Related data.                                                    $1,455

                                                                                                                                                                            Combined mo
                                                                                                                                                                            Income

13       Do you expect an increase or decrease within the year after you file this form:
                No.

                   Yes. Explain

Official Form 6I                                                                         Schedule I: Your Income                                                               page 2
      Case 19-01974-LT7                 Filed 04/18/19           Entered 04/18/19 08:43:52                  Doc 10         Pg. 28 of 54

      Non Filing Spouse                                      Calculation of Income using Year-To-Date figures


  Number of months income used to calculate.                               9.9


                                                            Year-To-Date Figure            Monthly Equivalent            Amount placed in
                                                                                                                          Schedule I and
                                                                                                                           Means Test

Gross Income                                                           15,781.50                        1,594.09               Line 2

Federal Taxes                                                                   9.63                          0.97            Line 5a
State Taxes                                                                     0.00                          0.00
Social Security                                                             978.45                          98.83                      $139
Medicare                                                                    228.83                          23.11
SDI                                                                         157.81                          15.94
Retirement Plan Contribution                                                                                  0.00            Line 5b
Retirement Fund Loan Repayment                                                                                0.00            Line 5c
Medical Insurance                                                                                             0.00            Line 5d
Dental Insurance                                                                                              0.00
Vision Insurance                                                                                              0.00                        $0
Union Dues                                                                                                    0.00            Line 5e
Other:                                                                                                        0.00            Line 5f
Other:                                                                                                        0.00            Line 5g
Other:                                                                                                        0.00            Line 5h

                    Net Income                                       $14,406.78                      $1,455.23               Line 7


                                                 CURRENT MONTHLY INCOME DETAILS FOR THE DEBTOR

The debtor has been at this job for at least the last 6 months. Income does not vary considerably. The year-to-date income was used from the most
recent pay stub available in order to calculate the average monthly income and deductions. These figures are those used for schedule I and the Means
Test.



                                     ATTORNEY CERTIFICATE
      I have reviewed the documentation of the debtor upon which the representations of the
debtor are made in this statement.

Dated: April 18, 2019                                                            /s/ R. Creig Greaves
                                                                                 R. Creig Greaves
                                              INCOME CALCULATION FOR DEBTOR - SCHEDULE I
       Case 19-01974-LT7                                Filed 04/18/19                        Entered 04/18/19 08:43:52                                     Doc 10         Pg. 29 of 54
Fill in this information to identify your case:                                                                                                       Check if this is:

     Debtor 1               Brian A. LaPorte                                                                                                                 Amended filing


Debtor 2                                                                                                                                                     A supplement showing post petition
Spouse if filing                                                                                                                                             Chapter 13 expenses as of this date:

United States Bankruptcy Court for the SOUTHERN District of CALIFORNIA                                                                                       A separate filing for Debtor 2 because
                                                                                                                                                             Debtor w maintains a separate
Case number                 19-01974-LT7                                                                                                                     household


Official Form B6J
Schedule J: Your Expenses
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Part 1: Describe Your Household

1.     Is this a joint case?
                No
                   Yes. Does Debtor 2 live in a separate household?
                                    No
                                    Yes. Debtor 2 must file a separate Schedule J.

2     Do you have dependents ?                           No
                                                                                                          Dependents relationship to                     Dependents        Does Dependent
                                                         Yes. Fill out this information
      Do not list Debtor 1 and                                                                            Debtor 1 or Debtor 2                           age.              live with you?
                                                         for each dependent.
      Debtor 2
                                                  Debtor incarcerated.                                    Son                                                 20                 Yes
      Do not state the
                                                  Dependents are living in the
      dependents names.
                                                  family home.
                                                                                                                                                                                 No

                                                                                                          Son                                                  4                 Yes
                                                                                                                                                                                 No

                                                                                                          Daughter                                            11                 Yes
                                                                                                                                                                                 No

                                                                                                                                                                                 Yes
                                                                                                                                                                                 No

                                                                                                                                                                                 Yes
                                                                                                                                                                                 No
3.    Do your expenses include                                       No
      expenses of people other than
      yourself and your dependents?
                                                                     Yes

Part 2: Estimate your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses
as of the date after the bankruptcy is filed. If this is a supplemental Schedule J, check this box at the to of the for and fill in this applicable date.


4     The rental or home ownership expenses for your residence. Include first mortgage payments and                                                                  4.
      any rent for the ground or lot.                                                                                                                                              9,000

      If not included in line 4:

      4a.       Real Estate Taxes..................................................................................................................                  4a

      4b.       Property, homeowner’s, or renter’s insurance.....................................................................                                    4b

      4c.       Home maintenance, and upkeep expenses........................................................................                                        4c

      4d.       Homeowner’s association or condominium dues...............................................................                                           4d

Official Form 6J                                                                   Schedule J: Your Expenses                                                                                 Page 1
       Case 19-01974-LT7                                   Filed 04/18/19                         Entered 04/18/19 08:43:52                                    Doc 10        Pg. 30 of 54
Debtor 1     Brian A. LaPorte                                                                                                                              Case Number ( if known) 19-01974-LT7

5     Additional mortgage payments for your residence. Such as home equity loans.................................                                                      5

6     Utilities

      6a          Electricity, heat, natural gas..................................................................................................                    6a              150

      6b          Water, sewer, garbage collection.........................................................................................                           6b              100

      6c          Telephone, cell phone, internet, satellite, and cable services............................................                                          6c              180

      6d          Other                               Specify: Telecommunications                                                                                     6d

7     Food and housekeeping supplies..........................................................................................................                         7.             500

8     Childcare and children’s education costs..............................................................................................                          .8.

9     Clothing, laundry, and dry cleaning.......................................................................................................                       9.              75

10    Personal care products and services....................................................................................................                         10               50

11    Medical and dental expenses...............................................................................................................                      11               50

12    Transportation. Include gas, maintenance, bus or train fare.                                   Do not include car payments.....                                 12              350

13    Entertainment, clubs, recreation, newspapers, magazine, and books.....................................................                                          13              100

14    Charitable contributions and religious donations. .................................................................................                             14

15    Insurance
      Do not include insurance deducted from pay or included in lines 4 or 20

      15a.        Life insurance.......................................................................................................................              15a

      15b.        Health insurance...................................................................................................................                15b

      15c.        Vehicle insurance..................................................................................................................                15c              150

      15d         Other insurance.                   Specify:                                                                                                        15d

16    Taxes. Do not include taxes deducted from pay or included in lines 4 or 20

      Specify:                                                                                                                                                        16

17    Installment or lease payments:

      17a         Car payments for vehicle 1                      2103 BMW X5                                                                                        17a              509

      17b         Car payments for Vehicle 2                                                                                                                         17b

      17c         Student loan payments                                                                                                                              17c

      17d         Other:                             Specify:                                                                                                        17d

      17e         Other:                             Specify:                                                                                                        17e

18    Your payments of alimony, maintenance, and support that you did not report as deducted                                                                          18
      from your pay on line 5, Schedule I, Your Income (official Form B6I).

19    Other payments that you make to support others who do not live with you                                                                                         19

      Specify:

20    Other real property expenses not included in lines 4 or 5 of this form or on Schedule K: Your income
      (Official Form 6I)

      20a         Mortgages on other property................................................................................................

      20b         Real estate taxes.....................................................................................................................             20b

      20c         Property, homeowner’s or renter’s insurance.......................................................................                                 20c

      20d         Maintenance, repair, and upkeep expenses........................................................................                                   20d

      20e         Homeowner’s association or condominium dues................................................................

Official Form 6J                                                                      Schedule J: Your Expenses                                                                                   Page 2
        Case 19-01974-LT7                              Filed 04/18/19                    Entered 04/18/19 08:43:52                              Doc 10        Pg. 31 of 54
 Debtor 1      Brian A. LaPorte                                                                                                             Case Number ( if known) 19-01974-LT7

 21     Other: Specify:                                                                                                                                21

 22     Your monthly expenses. Add lines 4 through 21                                                                                                               11,214
        The result is your monthly expenses..............................................................................................

 23     Calculate your monthly net income.

        23a      Copy line 12 (your combined monthly income) from Schedule I.....................................                                                      1,455

        23b      Copy your monthly expenses from line 22 above.............................................................                                           11,214

        23c      Substrate your monthly expenses from your monthly income
                 The result is your monthly net income                                                                                                             (9,759)

 24     Do you expect an increase or decrease in your expenses with the year after your file this form?

        For example, do you expect to finish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                 No

                 Yes                              If home is sold debtor assumes his new rent/mortgage will be considerably
                                                  less.




Official Form 6J                                                             Schedule J: Your Expenses                                                                         Page 3
                Case 19-01974-LT7
 Fill in this information to identify your case:
                                                   Filed 04/18/19             Entered 04/18/19 08:43:52                       Doc 10       Pg. 32 of 54

 Debtor 1
                    Brian A. LaPorte
                                                                                                                             Check if this is an
 Debtor 2                                                                                                                    Amended Filing
 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                          Chapter you are filing under




OFFICIAL FORM 106SUM
 Summary of Your Assets and Liabilities and Certain Statistical Information.                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first: then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new summary and check the box at the top of this page.


 Part 1:
              Summarize Your Assets.
                                                                                                                                             Your Assets
                                                                                                                                             Value of what you own

 1.        Schedule A/B. Property (Official Form 106A/B)
           1a. Copy line 55. Total real estate from Schedule A/B........................................................................        $1,763,000
           1b . Copy line 62. Total personal property from Schedule A/B..........................................................                     $22,243


           1c Copy line 63. Total of all property on Schedule A/B....................................................................           $1,785,243

 Part 2:
              Summarize Your Liabilities.
                                                                                                                                             Your Liabilities
                                                                                                                                             Value of what you own

 2.
           Schedule D: Creditors Who have Claims Secured by Property (Official Form 106D)
           2a. Copy the total you listed in Column A. Amount of claim, at the bottom of the last page of Part 1                                  $1,299,905
           of Schedule D.............
 3.        Schedule E/F. Creditors Who Have Unsecured Claims (Official Form 106E/F)
           3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6j of Schedule E/F............                                           $0
           3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from lin3 6j of Schedule E/F [                                       $79,636


                                                                                                                  Your total liabilities       $1,379,541

 Part 3:
              Summarize Your Income and Expenses.
 4.        Schedule I: Your Income (Official Form 106I)
           Copy your combined monthly income from line 12 of Schedule I....................................................                            $1,455
 5.        Schedule J: Your Expenses (Official Form 106J)                                                                                            $11,214
           Copy your monthly expenses from line 22c of Schedule J...............................................................


              TOTAL OF ALL EXEMPTIONS CLAIMED                                                                                                    $107,050
 Official Form 106Sum                         Summary of your assets and Liabilities and Certain Statistical Information                                  Page 1 of 2
            Case 19-01974-LT7                      Filed 04/18/19              Entered 04/18/19 08:43:52                       Doc 10       Pg. 33 of 54
??   Brian A. LaPorte                                                                                                Case Number ( if known) 19-01974-LT7

Part 4:
             Answer These Questions for Administrative and Statistical Records.

6.
       Are you filing for bankruptcy under Chapters 7, 11, or 13?
           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your
           other schedules.
           Yes.


7.
       What kind of debt do you have?
          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal
          family, or household purpose" 11 U.S.C. § 101(6). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

             Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
             submit this form to the court with your other schedules.


8.
       From the Statement of Your Current Monthly Income. Copy your total current monthly income from
       Official Form 122A-1 Line 11, OR Form 122b Line 11, OR Form 122c-1 Line 14.                                                                          $1,594


9.     Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

                                                                                                                     Total Claim

       From Part 4 on Schedule E/F, copy the following.


       9a. Domestic Support Obligations (Copy lin 6a.)                                                                               $0

       9b.        Taxes and certain other debts you owe the government (Copy line                                                    $0
                  6b).                                                                                                                          Unknown


       9c, Claims for death or personal injury while you were intoxicated.                                                           $0
           (Copy line 6c)


       9d.        Student Loans (Copy line 6f.)                                                                                      $0

       9e.        Obligations arising out of a separation agreement or divorce that                                                  $0
                  you dit not report as priority claims. (Coy line 6g.)

       9f.        Debts to pension or profit-sharing plans, and other similar debts
                  (Copy line 6h.)                                                                                                    $0
       9g.        Total. Add lines 9a though 9f.
                                                                                                                                     $0




Official Form 106Sum                          Summary of your assets and Liabilities and Certain Statistical Information                                    Page 2 of 2
             Case 19-01974-LT7
 Fill in this information to identify your case:
                                                   Filed 04/18/19            Entered 04/18/19 08:43:52                    Doc 10        Pg. 34 of 54

 Debtor 1
                 Brian A. LaPorte
                                                                                                                         Check if this is an
 Debtor 2                                                                                                                Amended Filing
 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                         Chapter you are filing under




OFFICIAL FORM 106Dec


 Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connections with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years or both. 18 U.S.C. §§ 162, 1341, 1519, and 3571.




              Sign Below

 Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       No.

       Yes. Name of person                                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




 Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
 that they are true and correct.




 W /s/ Brian A. LaPorte                                                          W /s/

 Signature of Debtor 1:Brian      A. LaPorte                                     Signature of Debtor 2 -


 Executed on:     April 18, 2019                                                 Executed on:




 Official Form 106DEC                              Declaration About an Individual Debtor's Schedules                                                     Page 1
              Case 19-01974-LT7
 Fill in this information to identify your case:
                                                   Filed 04/18/19             Entered 04/18/19 08:43:52                       Doc 10    Pg. 35 of 54

 Debtor 1
                  Brian A. LaPorte
                                                                                                                              Check if this is an
 Debtor 2                                                                                                                     Amended Filing
 United States Bankruptcy Court for the
 Southern District of California
 Case number 19-01974-LT7                                         Chapter you are filing under




OFFICIAL FORM 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


 Part 1:
             Give Details About Your Marital Status and Were You Lived Before.
 1.
           What is your current marital status?
               Married.
               Not married.

 2.        During the last 3 years, have you lived anywhere other than where you live now?                         Present address 3 years
               No.
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

             Debtor 1:                                              Dates Debtor 1              Debtor 2:                                   Dates Debtor 2
                                                                    lived there                                                             lived there

                                                                                                   Same as Debtor 1.                             Same as Debtor 1

             Number, Street, City, State                                                        Number, Street, City, State
                                                                    From                                                                    From

                                                                    To                                                                      To




                                                                                                   Same as Debtor 1.                             Same as Debtor 1

             Number, Street, City, State                                                        Number, Street, City, State
                                                                    From                                                                    From

                                                                    To                                                                      To




 3.
           Within the Last 8 years, did you ever live with a spouse or legal equivalent in a community property state or
           territory? (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
           Washington, and Wisconsin.)
                   No.
                     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                 Page 1
               Case 19-01974-LT7 Filed 04/18/19                                 Entered 04/18/19 08:43:52                        Doc 10          Pg. 36 of 54
Debto1     :         - Brian A. LaPorte                                                                            Case Number ( if known) 19-01974-LT7

Part 2:
                Explain the Sources of Your Income.
4.
           Did you have any income from employment or from operating a business during this year or the two previous
           calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.-
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor1.

                      No.

                      Yes. Fill in the details.



                                                          Debtor 1                                                        Debtor 2

                                                          Source of Income                   Gross Income                 Sources of income            Gross Income
                                                          Check all that apply               (before deductions           Check all that apply         before
                                                                                             and exclusions)                                           deductions and
                                                                                                                                                       exclusions)

           From January 1 of current year until the           Wages, commissions                           $0                 Wages, commissions           $5,000
           date you filed for bankruptcy:                     Bonuses, tips                                                   Bonuses, tips
                                                              Operating a business                                            Operating a business

           For last Calendar year:                            Wages, commissions                           $0                 Wages, commissions          $19,000
           (January 1, to December 31 2018                    Bonuses, tips                                                   Bonuses, tips
                                                              Operating a business                                            Operating a business

           For last Calendar year before that                 Wages, commissions                                              Wages, commissions          $19,000
           (January 1, to December 31 2017                    Bonuses, tips                                                   Bonuses, tips
                                                              Operating a business                                            Operating a business



5.
           Did you receive any other income during this year or the two previous calendar years?
           Include income regardless of whether that income is taxable. Examples of other income are alimony, child support; Social Security,
           unemployment and other public benefit payments; pensions; rental income; interest, dividends, money collected from lawsuits; royalties; and
           gambling and lottery winnings. If you are filing a joint case and you have income that your received together, list it only once under Debtor 1.

           List each source and the gross income from source separately. Do not include income that you listed in line 4.

                      No.

                      Yes. Fill out the details.


                                                          Debtor 1                                                        Debtor 2

                                                          Source of Income                   Gross Income from            Sources of income            Gross Income from
                                                          Describe below                     each source                  Describe below               each source
                                                                                             (before deductions                                        before
                                                                                             and exclusions)                                           deductions and
                                                                                                                                                       exclusions)

           From January of current year until the
           date you filed for bankruptcy:


           For last Calendar year:
           (January 1, to December 31 2017


           For last Calendar year before that
           (January 1, to December 31 2016




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                     Page 2
               Case 19-01974-LT7 Filed 04/18/19                           Entered 04/18/19 08:43:52                        Doc 10          Pg. 37 of 54
Debto1     :         - Brian A. LaPorte                                                                      Case Number ( if known) 19-01974-LT7


Part 3:
                List Certain Payments You Made Before You Filed for Bankruptcy.

6.
           Are either Debtor1's or Debtor2's debts primarily consumer debts?.
                No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose".
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,426* or more?

                          No. Go to line 7.

                         Yes. List below each creditor to whom you paid a total of $6,426* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also do not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No. Go to line 7

                          Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                               creditor. Do not include payments for domestic support obligations, such as child support and
                               alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                 Dates of              Total amount paid            Amount you still owe         Was this payment
                                                                 payment                                                                         for



                      Creditors Name, address, city/state                                            $0                              $0             Mortgage
                                                                                                                                                    Car
                                                                                                                                                    Credit card
                                                                                                                                                    Loan payment
                                                                                                                                                    Suppliers
                                                                                                                                                    Other




                      Creditors Name, address, city/state                                            $0                              $0             Mortgage
                                                                                                                                                    Car
                                                                                                                                                    Credit card
                                                                                                                                                    Loan payment
                                                                                                                                                    Suppliers
                                                                                                                                                    Other




                      Creditors Name, address, city/state                                            $0                              $0             Mortgage
                                                                                                                                                    Car
                                                                                                                                                    Credit card
                                                                                                                                                    Loan payment
                                                                                                                                                    Suppliers
                                                                                                                                                    Other




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                     Page 3
               Case 19-01974-LT7                 Filed 04/18/19               Entered 04/18/19 08:43:52                          Doc 10     Pg. 38 of 54
Debto1     :      - Brian A. LaPorte                                                                             Case Number ( if known) 19-01974-LT7


7.
      Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an
      insider?
      Insiders include your relatives, any general partners; relatives of any general partners; partnerships of which you are a genera partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities, and any managing
      agent, including on for a business you operate as a sole proprietor. 11 U.S.C.§ 101. Include payments for domestic support obligations,
      such as child support and alimony.

                    No.

                    Yes. List all payments to an insider.


                                                                     Dates of              Total amount            Amount you still   Reason for this payment
                                                                     payment               paid                    owe

           Insider's name, address, city/state, zip                                                $0                       $0




           Insider's name, address, city/state, zip                                                $0                       $0




8.
      Within 1 year before you filed for bankruptcy, did you make a payment or transfer any property on account of a
      debt that benefitted an insider?
      Include payment on debts guaranteed or cosigned by and insider.

                    No.

                    Yes. List all payments to an insider.


                                                                     Dates of              Total amount            Amount you still   Reason for this payment
                                                                     payment               paid                    owe                Include creditor's name

           Insider's name, address, city/state, zip                                                $0                       $0




           Insider's name, address, city/state, zip                                                $0                       $0




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                       Page 4
              Case 19-01974-LT7                  Filed 04/18/19             Entered 04/18/19 08:43:52                      Doc 10          Pg. 39 of 54
Debtor 1 :       - Brian A. LaPorte                                                                            Case Number ( if known) 19-01974-LT7


Part 4:
             Identify Legal Actions, Repossession, and Foreclosures.
9.
          Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action or administrative
          proceeding? List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or
          custody modifications and contract disputes.
                   No.
                    Yes. Fill in the details.

                                                           Nature of the case                        Court or agency                            Status of this case

             Case Title                                    Lis Pendens on                            Court name, address, city and state
                                                                                                                                                      Pending
               State of California vs. Laporte             pending criminal                                                                           On appeal
                                                           action                                    Riverside Superior                               Concluded
             Case File No.     RIF 1880191                                                           RIF 1880191


             Case Title                                                                              Court name, address, city and state
                                                                                                                                                      Pending
                                                                                                                                                      On appeal
                                                                                                                                                      Concluded
             Case File No.



10.
          Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished,
          attached, seize, or levied? Check all that apply and fill in the details below.
                    No.
                    Yes. Fill in the detail

                                                                     Describe the property                                       Date           Value of the Property

             Creditor's name, address, city, state, zip code         See above re: Lis Pendens                                                             $0


                                                                         Property was repossessed
                                                                         Property was foreclosed
                                                                         Property was Garnished
                                                                         Property was attached, seized, or levied.

                                                                     Describe the property                                       Date           Value of the Property

             Creditor's name, address, city, state, zip code                                                                                               $0


                                                                         Property was repossessed
                                                                         Property was foreclosed
                                                                         Property was Garnished
                                                                         Property was attached, seized, or levied.

                                                                     Describe the property                                       Date           Value of the Property

             Creditor's name, address, city, state, zip code                                                                                               $0


                                                                         Property was repossessed
                                                                         Property was foreclosed
                                                                         Property was Garnished
                                                                         Property was attached, seized, or levied.

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                     Page 5
               Case 19-01974-LT7                     Filed 04/18/19               Entered 04/18/19 08:43:52                      Doc 10        Pg. 40 of 54
Debto1     :         - Brian A. LaPorte                                                                              Case Number ( if known) 19-01974-LT7


11
          Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set
          off any amount from your accounts or refuse to make a payment because you owed a debt?
                      No.

                      Yes. Fill in the detail


                                                                  Describe the action the creditor took                                Date Action     Amount
                                                                                                                                       was taken

               Creditor's name, address, city / state                                                                                                           $0


                                                                  Last 4 digits of account number


12
          Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for
          the benefit of creditors, a court-appointed receiver, a custodian, or another official?
                      No.

                      Yes.


Part 5:
               List Certain Gifts and Contributions.
13
          Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per
          person?

                      No.

                      Yes.


               Gifts with a total value of more than $600 per     Describe the gifts                                                   Dates you       Value
               person                                                                                                                  gave gifts

               Name, address, city / state /zip                                                                                                                 $0



                                                                                                                                                                $0




               Gifts with a total value of more than $600 per     Describe the gifts                                                   Dates you       Value
               person                                                                                                                  gave gifts

               Name, address, city / state /zip                                                                                                                 $0



                                                                                                                                                                $0



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                   Page 6
              Case 19-01974-LT7                    Filed 04/18/19               Entered 04/18/19 08:43:52                       Doc 10        Pg. 41 of 54
Debtor1 :        - Brian A. LaPorte                                                                                 Case Number ( if known) 19-01974-LT7

14
          Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 to any
          charity?
                    No.

                    Yes.


             Gifts or contributions to charities                Describe what you contributed                                         Dates you       Value
             that total more than $600                                                                                                contributed

             Name, address, city / state /zip                                                                                                                  $0



                                                                                                                                                               $0




Part 6:
             List Certain Losses.
15
          Within 2 years before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because
          of theft, fire, other disaster, or gambling?
                    No.

                    Yes.


             Describe the property you lost and how             Describe any insurance coverage for the loss.                         Date of your    Value of property
             the loss occurred.                                 Include the amount that insurance has paid. List pending              loss.           lost.
                                                                insurance claims on line 33 of Schedule A/B: Property

                                                                                                                                                                 $0



Part 7:
             List Certain Payments or Transfers.
16
          Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
          property to anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
          Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
                    No.

                    Yes. Fill in the details.


                                                                Description and value of any property transferred                     Dates of        Amount of payment
                                                                                                                                      transfer

             Name of person paid, address, city/state

                                                                                                                                                               $0


                                                                                                                                                               $0



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                     Page 7
            Case 19-01974-LT7                   Filed 04/18/19             Entered 04/18/19 08:43:52                       Doc 10         Pg. 42 of 54
Debtor1 :      - Brian A. LaPorte                                                                              Case Number ( if known) 19-01974-LT7

                                                           Description and value of any property transferred                       Dates of         Amount of payment
                                                                                                                                   transfer

            Name of person paid, address, city/state

                                                                                                                                                            $0


                                                                                                                                                            $0




17
        Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
        property to anyone you promises to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.
                  No.
                    Yes. Fill in the details.


                                                           Description and value of any property transferred                       Dates of         Amount of payment
                                                                                                                                   transfer

            Name of person paid, address, city/state

                                                                                                                                                            $0


                                                                                                                                                            $0




18
        Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone,
        other than property transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
                  No.
                    Yes. Fill in the details.

                                                           Description and value of property            Describe any property or payments received or   Date transfer
                                                           transferred                                  debts paid in exchange                          was made

            Person who received transfer / address




            Person who received transfer / address




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                       Page 8
              Case 19-01974-LT7                 Filed 04/18/19              Entered 04/18/19 08:43:52                        Doc 10         Pg. 43 of 54
Debtor 1 :          - Brian A. LaPorte                                                                          Case Number ( if known) 19-01974-LT7

19
          Within 10 years before you filed for bankruptcy, did you transfer any property to a self-certified trust or similar
          device of which you are a beneficiary? ()These are often called asset-protection devices.)
                    No.
                    Yes. Fill in the details.

                                                            Description and value of the property transferred                                           Date transfer
                                                                                                                                                        was made


             Name of trust:




Part 8:
             List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units.
20.
          Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or
          for your benefit closed, sold, moved, or transferred?
          Include checking, savings, money market, or other financial accounts, certificates of deposit, shares in banks, credit unions,
          brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
                    No.
                    Yes. Fill in the details.


                                                      Last 4 digits of account number             Type of account or        Date account was       Last balance before
                                                                                                  instrument.               closed, sold, moved,   closing or transfer
                                                                                                                            or transferred

             Name Financial Institution & address                                                     Checking                                              $0
                                                                                                      Savings
                                                      xxxx-                                           Money Market
                                                                                                      Brokerage
                                                                                                      Other



                                                      Last 4 digits of account number             Type of account or        Date account was       Last balance before
                                                                                                  instrument.               closed, sold, moved,   closing or transfer
                                                                                                                            or transferred

             Name Financial Institution & address                                                     Checking                                              $0
                                                                                                      Savings
                                                      xxxx-                                           Money Market
                                                                                                      Brokerage
                                                                                                      Other



21
          Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other
          depository for securities, cash, or other valuables?
                    No.
                    Yes. Fill in the details.


                                                         Who else hd access to it.?                              Describe the contents                     Do you still
                                                                                                                                                           have it?

             Financial Institution name & address        Name, numbers, city/street, zip                                                                       No.
                                                                                                                                                               Yes




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                      Page 9
              Case 19-01974-LT7                  Filed 04/18/19             Entered 04/18/19 08:43:52                        Doc 10           Pg. 44 of 54
Debtor 1 :          - Brian A. LaPorte                                                                         Case Number ( if known) 19-01974-LT7

22
          Have you stored property in a storage unit or place other than your home within 1 year before you filed for
          bankruptcy?
                    No.
                    Yes. Fill in the details.


                                                         Who else hd access to it.?                              Describe the contents                     Do you still
                                                                                                                                                           have it?

             Financial Institution name & address        Name, numbers, city/street, zip                                                                       No.
                                                                                                                                                               Yes




Part 9:
             Identify Property you Hold or Control for Someone Else.
23
          Do you hold or control any property that someone else owns? Include any property you borrowed from, are
          storing for, or hold in trust for someone.
                    No.
                    Yes. Fill in the details.


                                                         Where is the property?                                  Describe the property                     Value

             Owners name, address, city, state           Number, city/street, zip




Part 10:
             Give Details About Environmental Information.
For the purpose of Part 10, the following apply:
# Environmental law means any federal, state, or local statute, or regulation concerning pollution, contamination, releases of
   hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.

# Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
  it or used to own, operate, or utilize, including disposal sites.

# Hazardous material means anything an environmental law defines as hazardous waste, hazardous substance, toxic
  substance, hazardous materia, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.       Has any governmental unit notified you that you may be liable or potentially liable under or in violation of environmental law?

             No.
                    Yes. Fill in the details.


                                                            Governmental unit                            Environmental law, if you know it.           Date of notice

             Name of site / address




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                       Page 10
             Case 19-01974-LT7                     Filed 04/18/19              Entered 04/18/19 08:43:52                          Doc 10          Pg. 45 of 54
Debtor 1 :           - Brian A. LaPorte                                                                           Case Number ( if known) 19-01974-LT7

25.
        Have you notified any governmental unit of any release of hazardous material?
                     No.
                     Yes. Fill in the details.


                                                               Governmental unit                            Environmental law, if you know it.                 Date of notice

             Name of site / address




26.
        Have you been a party to any judicial or administrative proceeding under any environmental law? Include
        settlements and Orders.
                     No.
                     Yes. Fill in the details.


                                                               Court or agency                              Nature of the case.                                Status of case

             Name of site / address                                                                                                                                Pending
                                                                                                                                                                   On appeal
                                                                                                                                                                   Concluded




Part 11:
              Give Details About Your Business or Connections to Any Business.
27.
        Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections
        to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time.
                    A member of a limited liability company (LLC) or limited liability partnership (LLP).
                    A partner in a partnership.
                    An officer, director, or managing executive of a corporation
                    An owner of at least 5% of the voting or equity securities of a corporation.
                    No. None of the above applies. Go to Part 12.
                    Yes. Check all that apply above and fill in the details below for each business.

                                                                 Describe the nature of the business                         Employer Identification number
                                                                                                                             Do not include Social Security Number or ITIN

              Business Name, address, city/state/zip                                                                         EIN:

                                                                 Name of Accountant or Bookkeeper                            Dates business existed.

                                                                                                                             From:               To



                                                                 Describe the nature of the business                         Employer Identification number
                                                                                                                             Do not include Social Security Number or ITIN

              Business Name, address, city/state/zip                                                                         EIN:

                                                                 Name of Accountant or Bookkeeper                            Dates business existed.

                                                                                                                             From:               To


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                             Page 11
             Case 19-01974-LT7                     Filed 04/18/19              Entered 04/18/19 08:43:52                         Doc 10          Pg. 46 of 54
Debtor 1 :            - Brian A. LaPorte                                                                         Case Number ( if known) 19-01974-LT7

                                                                Describe the nature of the business                         Employer Identification number
                                                                                                                            Do not include Social Security Number or ITIN

                 Business Name, address, city/state/zip                                                                     EIN:

                                                                Name of Accountant or Bookkeeper                            Dates business existed.

                                                                                                                            From:              To



        Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your
        business/ Include all financial institutions, creditors, or other parties.

                    No.
                    Yes. Fill in the details.


                 Name, address, city, state, zip                Date Issued. Month / day / year




Part 12:
                    Sign Below.
        I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
        answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000 or imprisonment for up to 20 years, or both.



        W /s/ Brian A. LaPorte                                             W

        Signature of debtor 1                                              Signature of debtor 2
        Brian A. LaPorte


        Date: April 18, 2019                                               Date:

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No.
           Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No.
           Yes. Name of person                                                                                   Attach the Bankruptcy Petition Preparer's Notice.
                                                                                                                 Declaration and Signature (Official Form 119)




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy.                                             Page 12
           Case 19-01974-LT7                     Filed 04/18/19            Entered 04/18/19 08:43:52                       Doc 10           Pg. 47 of 54
Fill in this information to identify your case                                                          Check one only as directed in lines 1, 2, 3, or 17:

Debtor 1               Bryan LaPorte                                                                    According to the calculations required by this statement

                                                                                                              1. There is no presumption of abuse
Debtor 2
Spouse if filing
                                                                                                              2. The presumption of abuse is determined by
United States Bankruptcy Court, SOUTHERN District of CALIFORNIA                                                  Form 22-A2

                                                                                                              3. The Means Test does not apply now because of
Case number            19-01974-LT7                                                                              qualified military service but it could apply later

                                                                                                              Check if this is an amended filing

Official Form 22A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pates, write your name and case number
(if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military
service, complete and file Statement of Exemption from presumption of Abuse Under § 707(b)(2) Official form 122A-1 Supp) with this form.

Part 1:             Calculate Your Current Monthly Income

1         What is your marital and filing Status? Check one only.
                  Not married. Fill out Column A, lines 5-15.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 5-14
                  Married and your spouse is NOT filing with you. You and your spouse are:
                       Living in the same household and are not legally separated. Fill out both Columns A and B, lines 5-14.
                       Living separately or are legally separated. Fill out Column A, lines 5-14, do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and
                       your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B)

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For example, you are filing on September 15, the 6 month period would be March 1 through August 31. If the amount of your monthly
income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more
than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to
report for any line, write $0 in the space.

                                                                                                                   Column A              Column B
                                                                                                                    For you              Debtor 2

2         Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
          deductions:.                                                                                                  $0               $1,594

3         Alimony and maintenance payments.                                                                             $0                    $0




5         Net income from operating a business, profession, or farm       Debtor 1       Debtor 2

          Gross receipts(before all deductions)                              $0             $0

          Ordinary and necessary operating expenses
                                                                                                       Copy
                                                                                                       here
          Net monthly income from a business, profession, or                 $0             $0         º                $0                    $0
          farm

6         Net income from rental and other real property                  Debtor 1       Debtor 2

          Gross receipts (before all deductions)                             $0             $0

          Ordinary and necessary operating expenses                                                    Copy
                                                                                                       here
          Net monthly income from rental or other real property              $0             $0         º                $0                    $0

7         Interest, dividends, and royalties                                                                            $0                    $0


Official Form B 22a1                                       Chapter 7 statement of your current Monthly Income                                                 page 1
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Debtor 1          Bryan LaPorte                                                                            Case number, if any        19-01974-LT7

8         Unemployment compensation
          Do not enter amount if you contend that the amount received was a benefit under the
          Social Security Act, instead list it here...........................................ú                                             $0                       $0

          For you..............................................................................                $0


          For your spouse................................................................                      $0

9         Pension or retirement income. Do not include any amount received that was a benefit under
          the Social Security Act.                                                                                                          $0                       $0

10        Income from all other Sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payment received as
          a victim of a war crime, a crime against humanity, or International or domestic terrorism. If
          necessary, list other sources on a separate page and put the total on line 13c.

          10a..                                                                                                                             $0                       $0

          10b.                                                                                                                              $0                       $0

          10c.                                                                                                                              $0                       $0          Total Income

          Calculate your total current monthly income Add lines 5 through 13 for each column.
11
          Then add the total for Column A to the total for Column B.
                                                                                                                                         $0                $1,594                $1,594
Part 2:    Determine Whether the Means Test Applies to You.

12        Calculate your annual Income using your total current monthly Income from Part 3. Follow these steps.

          12a.       Copy your total current monthly income from line14......................................................Copy line 11 hereþ 12a.                        $1,594
                            Multiply by 12 (the number of months in a year).                                                                                              X 12

          12b        The result in your annual income for this part of the form.                                                                                           $19,128
          12b.

13        Calculate the median family income that applies to you. Follow these steps:

          Fill in the state in which you live                                   California

          Fill in the number of people in the
          household
                                                                                      5
          Fill in the medial family income for your state and size of household................................................................................13.        $105,813
          To find that information, either to the Means Test Information at http;://www.justice.gov/ust/eo/bapcpa/meanstesting.htm
          or ask for help at the clerk’s office of the bankruptcy court.

14        How do the lines compare?

          14a.              Line 12b is less than or equal to line 16. On the top of page 1, check box 1, There is no presumption
                            of abuse. Go to Part 5.

          14b.              Line 12b is more than line 16. On the top of page 1, check box 2, The presumption of abuse is
                            determined by Form 22A-2. Go to Part 5 and fill out Form 22A-2


Part 3: Sign Below

          By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                       Y /s/ Bryan LaPorte                                                                     Y

                      Debtor 1 -          Bryan LaPorte                                                        Debtor 2 -



                      Dated: April 18, 2019                                                                   Dated:

          If you check 14a, do NOT fill out or file Official Form 22A-2. Chapter 7 Means Test Calculation.
          If you checked line 14b, fill out Official Form 22A-2, Chapter 7 Means Test Calculation and file it with this form.

Official Form 22A-1                                                         Chapter 7 Statement of your Current Monthly Income                                                     Page 2
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 R. Creig Greaves (Bar #071035)
 Attorney at Law
 110 West "C" Street, Suite 2101
 San Diego, CA 92101
 (619) 234-0033
                 UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
                325 West “F” Street, San Diego, CA 92101

     Brian A. LaPorte                                                      Bankruptcy No: 19-01974-LT7


                                                             Debtor(s)
 Last four digits of Soc. Sec. or
 individual-Taxpayer I.D. (TIN)/ complete EIN:



                                              UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
                                      RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                                    AND THEIR ATTORNEY


In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy
process, the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or
responsibilities under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.


                                                                  I.
                                             Services Included in the Initial Fee Charged

The following are services that an attorney must provide as part of the initial fee charged for
representation in a Chapter 7 Case:

1.            Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.

2.            Analyze the debtor’s financial situation, and render advice to the debtor in determining whether
              to file a petition in bankruptcy.

3.            Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the
              debtor regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the
              debtor’s questions.

4.            Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and
              instruct the debtor as to the date, time and place of the meeting.

5.            Advise the debtor of the necessity of maintaining liability, collision and comprehensive
              insurance on vehicles securing loans or leases.

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6.       Timely prepare, file and serve, as required, the debtor’s petition, schedules, Statement of
         Financial Affairs, and any necessary amendments to Schedule C.

7.       Provide documents pursuant to the Trustee Guidelines and any other information requested
         by the Chapter 7 Trustee or the Office of the United States Trustee.

8.       Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their
         Attorneys to the debtor.

9.       Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued
         meeting, except as further set out in Section II.

10.      File the Certificate of Debtor Education if completed by the debtor and provided to the attorney
         before the case is closed.

11.      Attorney shall have a continuing obligation to assist the debtor by returning telephone calls,
         answering questions and reviewing and sending correspondence.

12.      Respond to and defend objections to claims(s) of exemption arising from attorney error(s) in
         Schedule C.

                                                    II.
                          Services Included as Part of Chapter 7 Representation,
                                       Subject to an Additional Fee.

The following are services, included as part of the representation of the debtor, for which the attorney
may charge additional fees:

1.       Representation at any continued meeting of creditors due to client’s failure to appear or failure
         to provide required documents or acceptable identification;

2.       Amendments, except that no fee shall be charged for any amendment to Schedule C that may
         be required as a result of attorney error;

3.       Opposing Motions for Relief from Stay;

4.       Reaffirmation Agreements and hearing on Reaffirmation Agreements.

5.       Redemption Motions and hearings on Redemption Motions;

6.       Preparing, filing, or objecting to Proof of Claims, when appropriate, and if applicable;

7.       Representation in a Motion to Dismiss or Convert debtor’s case;

8.       Motions To Reinstate of Extend the Automatic Stay;

9.       Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
         administration issues.

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                                                    III.
                  Additional Services Not Included in the Initial Fee Which Will Require a
                                        Separate Fee Agreement.

The following services are not included as part of the representation in a Chapter 7 case, unless the
attorney and debtor negotiate representation in these post-filing matters at mutually agreed upon terms
in advance of any obligation of the attorney to render services. Unless a new fee agreement is
negotiated between debtor and attorney, attorney will not be required to represent the debtor in these
matters:

1.       Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to
         Determine Dischargeability of Debt:

2.       Defense of a Complaint objecting to discharge;

3.       Objections to Claim of Exemption, except where an objection arises due to an error on
         Schedule C;

4.       Sheriff levy releases;

5.       Section 522(f) Lien Avoidance Motions;

6.       Opposing a request for, or appearing at a 2004 examination;

7.       All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
         Property;

8.       Motions or other proceedings to enforce the automatic stay or discharge injunction:

9.       Filing or responding to an appeal.

10.      An audit of the debtor’s case conducted by a contract auditor pursuant to 28 U.S.C. Section
         586(f).

                                                   IV.
                                  Duties and Responsibilities of the Debtor

As the debtor filing for a Chapter 7 Bankruptcy, you must:

1.       Fully disclose everything you own, lease, or otherwise believe you have a right or interest in
         prior to filing the case;

2.       List everyone to whom you owe money, including your friends, relatives or someone you want
         to repay after the bankruptcy is filed;

3.       Provide accurate and complete financial information;

4.       Provide all requested information and documentation in a timely manner, in accordance with
         the Chapter 7 Trustee Guidelines;

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5.       Cooperate and communicate with your attorney;

6.       Discuss the objectives of the case with your attorney before you file;

7.       Keep the attorney updated with any changes in contact information, including email
         address;

8.       Keep the attorney updated on any and all collection activities by any creditor, including
         lawsuits, judgments, garnishments, levies, and execution on debtor’s property;

9.       Keep the attorney updated on any changes in the household income and expenses;

10.      Timely file all statutorily required tax returns;

11.      Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;

12.      Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;

13.      Bring proof of social security number and government issued photo identification to the
         Section 341(a) Meeting of Creditors;

14.      Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your
         case;

15.      Pay all required fees prior to the filing of the case;

16.      Promptly pay all required fees in the event post filing fees are incurred;

17.      Debtor must not direct, compel or demand their attorney to take a legal position or oppose
         a motion in violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule
         that is not well grounded in fact or law.




 Dated: April 18, 2019                                 /s/ Bryan LaPorte
                                                       Bryan LaPorte


 Dated: April 18, 2019                                 /s/ R. Creig Greaves
                                                       R. Creig Greaves
                                                       Attorney for debtor(s).
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                                                           UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF CALIFORNIA
In Re:
Brian A. LaPorte
                                                                                                           Bankruptcy No:    19-1262-LA7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. §329(a) and Federal Rule of Bankruptcy Procedure 2016(b), I certify that I am the attorney for
the above named debtor(s) and that compensation paid to me within one year before the filing of the petition in
bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept. . . . . . . . . . . . . . . . . .                         $1,500.00

          Prior to the filing of this statement I have received. . . .. . . . . . . . .                           $665.00

          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          $835.00
                 Balance to be paid thru the chapter 13 plan

2.        The source of the compensation paid to me was: Debtor(s)

3.        The source of compensation to be paid to me is:                                     Debtor(s) through the chapter 13 plan.

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
          compensation is attached.

5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
          including:

          a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;

          b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof.

          Other: All of those services described in The UNITED STATES TRUSTEE SOUTHERN DISTRICT OF
                 CALIFORNIA
                 RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR ATTORNEY filed herewith.

6.        By agreement with the debtor(s), the above-disclosed fee does not include work related to compliance with
          BAPCPA disclosures. Debtor(s) attorney may make separate applications for BAPCPA related services:


                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
 representation of the debtor(s) in this bankruptcy proceeding.


 Dated:      April 18, 2019                                                                   /s/ R. Creig Greaves
                                                                                              R. Creig Greaves (071035)
                                                                                              Attorney for debtor(s)
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1      R. Creig Greaves (071035)
      Attorney at Law
2
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3     San Diego, California 92l0l
      (6l9) 234-0033
4
      Attorney for Debtor(s)
5

6

7                                    UNITED STATES BANKRUPTCY COURT
8
                                     SOUTHERN DISTRICT OF CALIFORNIA
9
      In re:                                       )
10                                                 )   Case Number 19-01974-LT7
      Brian A. LaPorte                             )
11
                                                   )   DECLARATION OF Bryan LAPORTE.
12                                                 )
                                                   )
13

14
               I / We, declare that I am the debtor herein and further declare as follows:
15
               I have been incarcerated and hope to be out prior to the meeting of creditors
16
      scheduled for May 8, 2019. If unable to appear, I wish to continue with this case and will
17

18    appear by telephone if possible. I obviously have no income at this time. My wife has an

19    income. We purchased a home and put $500,000 down. It is now in foreclosure. I am

20    informed that I do not qualify for chapter 13 and need to realize some the equity in the
21
      family residence. Rather than lose equity in our home, I decided to file chapter 7 and try
22
      to sell the home.       My wife previously filed chapter 7, but did not file the balance of
23
      schedules to complete her case.
24

25              I / We declare under penalty of perjury that the foregoing is true and correct
26
       and that this declaration is made at San Diego, California on
27
       Dated: April 18, 2019                 /s/ Bryan LaPorte
28                                           Bryan LaPorte
